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  1   Mark J. Jacobs (SBN 208945)
      E-Mail: mjacobs@fisherphillips.com
  2   Drew M. Tate (SBN 312219)
      E-Mail: dtate@fisherphillips.com
  3   FISHER & PHILLIPS LLP
      444 South Flower Street, Suite 1500
  4   Los Angeles, California 92614
      Telephone: (213) 330-4500
  5   Facsimile: (213) 330-4501
  6   Attorneys for Defendants
      VANTAGE TRAVEL SERVICE, INC.
  7   and INSPERITY PEO SERVICES, L.P.
      (Erroneously Sued as INSPERITY, INC.)
  8
  9                      UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
12    LAUREN GOLDENBERG,                      Case No: _____________________
13                     Plaintiff,             [Removed from State Court,
                                              Case No. 21STCV05726]
14         v.
                                              DEFENDANTS VANTAGE
15    VANTAGE TRAVEL SERVICE, INC.;           TRAVEL SERVICE, INC. AND
      INSPERITY, INC.; and DOES 1-100,        INSPERITY PEO SERVICES,
16
                        Defendants.           L.P.’S NOTICE OF REMOVAL OF
17                                            ACTION FROM STATE COURT
                                              TO FEDERAL COURT PURSUANT
18                                            TO 28 U.S.C. §§ 1332, 1441, AND
                                              1446
19
                                              Complaint Filed: February 16, 2021
20                                            Trial Date: Not Set
21
22    TO PLAINTIFF AND HER COUNSEL OF RECORD AND TO THE CLERK
23    FOR THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
24    DISTRICT OF CALIFORNIA:
25          PLEASE TAKE NOTICE that Defendants VANTAGE TRAVEL
26    SERVICE, INC. and INSPERITY PEO SERVICES, L.P., erroneously sued as
27    INSPERITY, INC. (collectively “Defendants”), by and through their counsel of
28    record, submit this Notice of Removal to remove this action from the Superior
                                              1
        DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
                          PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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  1   Court of the State of California, County of Los Angeles, to the United States
  2   District Court for the Central District of California, pursuant to 28 U.S.C. §§ 1332,
  3   1441 and 1446. In support of removal, Defendants submit as follows:
  4   I.       STATEMENT OF JURISDICTION
  5            1.    This Court has original jurisdiction over this action based on diversity
  6   of citizenship pursuant to 28 U.S.C. § 1332. This action is one that may be removed
  7   to this Court by Defendants pursuant to 28 U.S.C. §§ 1332(a) and 1441(b) because
  8   it is a civil action between citizens of different states and the amount in controversy
  9   exceeds $75,000.00, exclusive of interests and costs, as set forth below. See 28
10    U.S.C. §§ 1332(a), 1441(b).
11    II.      VENUE
12             2.    This action was originally brought in the Superior Court of the State
13    of California, County of Los Angeles. Therefore, venue properly lies in the Central
14    District of this Court pursuant to 28 U.S.C. §§ 84(c), 1441, and 1446(a).
15    III.     PROCEDURAL HISTORY
16             3.    This lawsuit arises out of Plaintiff’s alleged employment with
17    VANTAGE          TRAVEL       SERVICE,       INC     (“Vantage”).    On    or    about
18    February 16, 2021, Plaintiff filed a Complaint against Defendants in the Superior
19    Court of California, County of Los Angeles, styled and captioned exactly as above,
20    and assigned Case No. 21STCV05726 (the “Complaint”). Plaintiff’s Complaint
21    alleges the following causes of action: (1) Disability Discrimination in Violation of
22    the Fair Employment and Housing Act (“FEHA”); (2) Wrongful Termination in
23    Violation of Public Policy; (3) Retaliation in Violation of Labor Code § 1102.5; (4)
24    Intentional Infliction of Emotional Distress; and (5) Negligent Infliction of
25    Emotional Distress. See Exhibit A to the Notice of Removal (“Complaint”);
26    Declaration of Drew M. Tate (“Tate Decl.”), ¶ 2.
27             4.    On February 24, 2021, Plaintiff served her Complaint upon Vantage.
28    Tate Decl., ¶ 3.
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            DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
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  1           5.    On February 25, 2021, Plaintiff served her Complaint upon
  2   INSPERITY PEO SERVICES, L.P (“Insperity”). Tate Decl., ¶ 5; Declaration of
  3   Lecia Chaney (“Chaney Decl.”), ¶ 3.
  4           6.    Pursuant to 28 U.S.C. § 1446(a), true and correct copies of the
  5   Summons, Plaintiff’s Complaint, and other related papers that were served upon
  6   Defendants are attached hereto as Exhibit A-C. See Tate Decl., ¶¶ 2-4.
  7           7.    Based upon information and belief, there are no other pleadings or
  8   other papers filed in this matter as of the date of Defendants’ Notice of Removal.
  9   Tate Decl., ¶ 6.
10    IV.     TIMELINESS OF REMOVAL
11            8.    Under 28 U.S.C. § 1446(b), a “notice of removal of a civil action or
12    proceeding shall be filed within 30 days after the receipt by the defendant, through
13    service or otherwise[.]” The 30-day period for removal is triggered once service
14    occurs. Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354
15    (1999) (emphasis in original).
16            9.    Defendants first received the Summons, Plaintiff’s Complaint, and
17    other related documents when they were served by Plaintiff on February 24 and 25,
18    2021, respectively. See Exhibit A to the Notice of Removal; Tate Decl., ¶¶ 3, 5;
19    Chaney Decl., ¶ 3. Defendants filed this Notice of Removal on March 26, 2021.
20    Also, Defendants’ Notice of Removal has been filed within one year of
21    commencement of the state court lawsuit as required by 28 U.S.C. § 1446(b).
22    Therefore, Defendants’ Notice of Removal has been timely filed.
23    V.      REMOVAL IS SUBJECT TO A LIBERAL PLEADING STANDARD
24            10.   In 2014, the United States Supreme Court held that notices of removal
25    are subject to the same general pleading standards applicable to complaints
26    pursuant to Rule 8(a) of the Federal Rules of Civil Procedure, and accordingly,
27    such notices need not attach evidence or meet a burden of proof, but rather need
28    only contain a “short and plain statement of the grounds for removal.” Dart
                                                 3
           DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
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  1   Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 83 (quoting 28 U.S.C.
  2   § 1446(a)). This governing principle also applies to a removing party’s allegations
  3   to the amount in controversy. Id.; Garnett v. ADT LLC, 74 F. Supp. 3d 1332, 1334
  4   (2015). Only if the Court, or another party, contests the allegations of removability
  5   must the removing party submit evidence supporting its allegations, whereupon
  6   removability is decided under a preponderance of the evidence standard. Dart
  7   Cherokee, 574 U.S. at 88.
  8   VI.   BASIS FOR REMOVAL JURISDICTION
  9         11.    This Court has diversity jurisdiction over this action pursuant to
10    28 U.S.C. § 1332 because Plaintiff and Defendants are citizens of different states,
11    none of the Defendants are citizens of the State of California, and the amount in
12    controversy for Plaintiff exceeds $75,000.00, exclusive of interest and costs.
13    Therefore, this action may be removed to this United States District Court under
14    28 U.S.C. §§ 1441 and 1446.
15          A.     Complete Diversity of Citizenship Exists
16                 i.   Plaintiff’s Citizenship
17          12.    At all relevant times, Plaintiff is, and was, a resident and citizen of the
18    State of California. In fact, Plaintiff’s Complaint expressly alleges that she is an
19    individual residing in Los Angeles, California. See Complaint, ¶ 1.
20          13.    For diversity purposes, a person is a “citizen” of the state in which he
21    is domiciled. 28 U.S.C. § 1332 (a)(1); see Kanotor v. Wellesley Galleries, Ltd., 704
22    F.2d 1088, 1090 (9th Cir. 1983); Kramer v. Warner-Lambert Co., 265 F.3d 853,
23    857 (9th Cir. 2001) (confirming that a person’s domicile is the place he resides with
24    the intention to remain). Residence is prima facie evidence of domicile.
25    Mondragon v. Capital One Auto Fin., 736 F.3d 880, 885-886 (9th Cir. 2013); State
26    Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994); Lee v. BMW
27    of North America, LLC, Case No. SACV 19-01722 JVS (ADSx), 2019 WL
28    68338911, at *2 (C.D. Cal. Dec. 16, 2019). In fact, it is presumed that a natural
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        DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
                          PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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  1   person’s residence is also his or her domicile, and a party resisting this presumption
  2   bears the burden of producing contrary evidence. Lew v. Moss, 797 F.2d 747, 751
  3   (9th Cir. 1986).
  4            14.   In her Complaint, Plaintiff alleges that at all times she “is an individual
  5   residing in Los Angeles County, California.” See Complaint, ¶ 1. Nothing in
  6   Plaintiff’s Complaint or other pleadings suggest otherwise. Accordingly, Plaintiff
  7   is domiciled in and is a citizen of the State of California.
  8                  ii.   Vantage’s Citizenship
  9            15.   A “corporation shall be deemed to be a citizen of any State by which
10    it has been incorporated and of the State where it has its principal place of
11    business.” 28 U.S.C. § 1332(c)(1). As the Supreme Court has explained, a
12    corporation’s principal place of business is “the place where a corporation’s
13    officers direct, control, and coordinate the corporation’s activities. It is the place
14    that Courts of Appeals have called the corporation’s ‘nerve center.’” Hertz Corp.
15    v. Friend, 559 U.S. 77, 92-93 (2010).
16             16.   Vantage was at the time of the filing of this action, and continues to
17    be, a corporation organized under the laws of the State of Massachusetts with its
18    headquarters and principal place of business in Boston, Massachusetts.
19    Specifically, Vantage was and is a corporation in good standing with the State of
20    Massachusetts as of February 16, 2021 (the date the instant complaint was filed),
21    and as of the time Defendants’ Notice of Removal is being filed. Vantage’s
22    headquarters and principal place of business was located in Boston, Massachusetts
23    as of February 16, 2021, and is located in Boston, Massachusetts as of the time
24    Defendants’ Notice of Removal is being filed. Vantage controls, directs, and
25    coordinates its business activities at its Boston, Massachusetts headquarters.
26    Vantage’s President, Treasurer, Secretary, Chief Executive Officer, Chief
27    Financial Officer, and Director work in Vantage’s Boston, Massachusetts
28    ///
                                                  5
            DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
                              PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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  1   headquarters. Vantage is therefore a citizen of the State of Massachusetts for the
  2   purposes of removal pursuant to 28 U.S.C. § 1332(c).1
  3          17.     Accordingly, Vantage is not a citizen of the State of California.
  4                 iii.    Insperity’s Citizenship
  5          18.     In determining the citizenship of a limited partnership, courts look to
  6   the citizenship of each member of the partnership. See C.T. Carden v. Arkoma
  7   Associates, 494 U.S. 185, 195-196 (1990) (holding that a limited partnership is a
  8   citizen of every state of which a partner is a citizen).
  9          19.     Insperity is now, and was at the time this action was commenced, a
10    citizen of the State of Delaware within the meaning of 28 U.S.C. § 1332(c)(1),
11    because it is a limited partnership whose two members are both Delaware
12    corporations organized under the laws of the State of Delaware. Chaney Decl., ¶ 4.
13    Additionally, at all material times, Insperity has maintained its headquarters and
14    principal place of business in Kingwood, Texas. Chaney Decl., ¶ 4.
15           20.     The two members of Insperity are Administaff Partnerships Holding
16    III, Inc. and Administaff Companies, Inc. Chaney Decl., ¶ 5.
17           21.     Administaff Companies, Inc. is, and was at the time this action was
18    commenced, a citizen of the State of Delaware within the meaning of 28 U.S.C. §
19    1332(c)(1) because it was incorporated in Delaware. Chaney Decl., ¶ 6. At all
20    material times, Administaff Companies, Inc. has maintained its headquarters and
21    principal place of business in Kingwood, Texas. Id.
22
23
      1
        As of March 26, 2021, based on the California Secretary of State’s online business search
24    database available at http://businesssearch.sos.ca.gov/, Vantage’s Status is listed as “SOS
      Forfeited.” According to the Registration filed with the California Secretary of State on
25    November 15, 2017, Vantage is listed under the jurisdiction of the State of Massachusetts and its
      business address is listed as 90 Canal Street, Boston, Massachusetts 02114. Additionally, as of
26    March 26, 2021, based on the Massachusetts Secretary of State’s online corporate search
      database available at http://www.sec.state.ma.us/cor/corsearch.htm, Vantage was organized in
27    the State of Massachusetts on September 27, 1983, the location of its principal office is 90 Canal
      St., Boston, Massachusetts 02114, and the address for the President, Treasurer, Secretary, CEO,
28    CFO, and Director is listed as 90 Canal Street, Boston, Massachusetts 02114.
                                                6
          DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
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  1            22.   Administaff Partnerships Holding III, Inc. is, and was at the time this
  2   action was commenced, a citizen of the State of Delaware within the meaning of
  3   28 U.S.C.§ 1332(c)(1) because it was incorporated in Delaware. Chaney Decl., ¶
  4   7. At all material times, Administaff Partnerships Holding III, Inc., has maintained
  5   its headquarters and principal place of business in Kingwood, Texas. Id.
  6            23.   As a result, Insperity is not a citizen of the State of California.
  7                  iv.   Citizenship of DOE Defendants
  8            24.   Plaintiff’s Complaint also names as defendants Does 1 through 100.
  9   See Complaint, ¶ 3. The citizenship of fictitiously-named doe defendants must be
10    disregarded for the purposes of removal. See 28 U.S.C. § 1441(a); Newcombe v.
11    Adolf Coors Co., 157 F.3d 686, 690–91 (9th Cir. 1998). Accordingly, the
12    citizenship of the alleged Doe Defendants does not impact the diversity analysis
13    for removal.
14             25.   Because Plaintiff is a citizen of California and Defendants are not
15    citizens of California, complete diversity of citizenship exists in this matter. The
16    parties are therefore diverse of citizenship as required for this Court to exercise
17    diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).
18             B.    The Amount in Controversy Requirement is Satisfied
19             26.   The Court has diversity jurisdiction over an action in which the parties
20    are not citizens of the same state and “the matter in controversy exceeds the sum
21    or value of $75,000.00, exclusive of interest and costs.” 28 U.S.C. § 1332(a). The
22    amount in controversy for jurisdictional purposes is determined by the amount of
23    damages at issue at the time of removal. Piazza v. EMPI, Inc., No. 1:07-CV-00954-
24    OWWGSA, 2008 WL 590494, at *14 (E.D. Cal. Feb. 29, 2008); see also Merit-
25    Care, Inc. v. St. Paul Mercury Ins. Co. 166 F.3d 214, 217–218 (3d Cir. 1999),
26    abrogated on other grounds by Exxon Mobil Corp. v. Allapattah Servs., Inc., 545
27    U.S. 546 (2005).
28    ///
                                                  7
            DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
                              PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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  1         27.    The amount in controversy can be determined from the complaint or
  2   from other sources, including statements made in the notice of removal. See Valdez
  3   v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004); (“[W]e reiterate that the
  4   amount-in-controversy inquiry in the removal context is not confined to the face of
  5   the complaint.”); Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)
  6   (examining complaint and notice of removal for citizenship determination); Cohn
  7   v. Petsmart, Inc., 281 F.3d 837, 839–40, n.2 (9th Cir. 2002) (considering settlement
  8   demand letter for purposes of determining amount in controversy).
  9         28.    The test for determining whether the minimum amount in controversy
10    requirement is satisfied is whether it is “more likely than not” that the plaintiff
11    seeks to recover more than $75,000 in the action, exclusive of interest and costs.
12    Simmons v. PCR Technology, 209 F.Supp.2d 1029, 1031 (N.D. Cal. 2002); see also
13    Abrego Abrego v. The Dow Chem. Co., 443 F.3d 676, 683 (9th Cir. 2006). The
14    removing defendant need only to establish by a preponderance of evidence that the
15    claims exceed the jurisdictional minimum. Rodriguez v. AT & T Mobility Servs.
16    LLC, 728 F.3d 975, 982 (9th Cir. 2013); Singer v. State Farm Mutual Auto. Ins.
17    Co., 116 F.3d 373, 376 (9th Cir. 1997).
18          29.    In assessing the amount in controversy for diversity jurisdiction
19    purposes, the court must assume that a jury will return a verdict for the plaintiff on
20    all claims made in the complaint. Bank of California Nat. Ass'n v. Twin Harbors
21    Lumber Co., 465 F.2d 489, 491 (9th Cir. 1972); Kenneth Rothchild Trust v. Morgan
22    Stanley Dean Witter, 199 F.Supp.2d 993, 1001 (C.D. Cal. 2002). It is thus
23    appropriate to first examine the complaint to determine whether it is “facially
24    apparent” that the claims exceed the jurisdictional amount. See White v. FCI USA,
25    Inc., 319 F.3d 672, 674–76 (5th Cir. 2003). Indeed, if the complaint seeks more
26    than $75,000 in damages, removal on diversity grounds is proper unless the amount
27    set forth in the complaint was stated in bad faith. 28 U.S.C. § 1446(c)(2); See
28    Sanchez v. Monumental Life. Ins. Co., 102 F.3d 398 (9th Cir. 1996). Here,
                                              8
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  1   Defendants deny any and all liability as to Plaintiff’s claims, however even an
  2   extremely low estimate of what Plaintiff could recover would result in an overall
  3   recovery exceeding $75,000.00 if a jury ruled in favor on Plaintiff’s claims for
  4   relief.
  5             30.   In this matter, Plaintiff’s Complaint makes it clear that the amount in
  6   controversy “more likely than not” exceeds $75,000.00. In her Complaint, Plaintiff
  7   seeks damages for lost past and future income and employment benefits; damages
  8   to her career; psychological injuries and emotional distress damages; and punitive
  9   damages. See Complaint, ¶¶ 9-11, 23. Plaintiff’s Complaint further seeks judgment
10    against Defendants for compensatory economic and non-economic damages;
11    punitive damages; and costs of suit, including attorney’s fees. See Complaint,
12    Prayer, ¶¶ 1-6.
13              31.   Pursuant to her claim for compensatory damages, Plaintiff specifically
14    seeks damages for economic loss in the form of lost past and future income,
15    employment benefits, and damages to her career. Complaint, ¶ 9, and Prayer, ¶ 1.
16    Here, Plaintiff alleges that her employment was terminated on August 1, 2019, and
17    as such, approximately 86 weeks have passed since that date. Complaint, ¶ 8.
18    Plaintiff also earned a salary of $77,500 at the time of the termination of her
19    employment. Based on the foregoing, Plaintiff’s backpay claim could be at least
20    $128,174.40 (calculated as $37.26 per hour ($77,500 divided by 2080 hours) times
21    40 hours times 86 weeks), as of the date of Defendants’ Notice of Removal. It is
22    also likely that Plaintiff will seek lost wages from the date of her termination
23    through the date of trial. Accordingly, while Defendants deny Plaintiff’s allegations
24    and requests for relief, it is more than likely that Plaintiff will seek more than
25    $75,000.00 for her alleged loss of salary and/or employment benefits as economic
26    damages.
27              32.   Additionally, Plaintiff seeks an unspecified amount of non-economic
28    damages for her alleged psychological injuries and emotional distress in an amount
                                               9
         DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
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   1   to be proven at trial. See Complaint, ¶¶ 10, 23, and Prayer, ¶ 1. Emotional distress
   2   damages are considered in determining the amount in controversy. See Kroske v.
   3   U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2015). Further, to establish the
   4   amount of emotional distress in controversy, a defendant may introduce evidence
   5   of jury verdicts in other cases. Cain v. Hartford Life and Acc. Ins. Co., 890 F. Supp.
   6   2d 1246, 1250 (C.D. Cal. 2012). Emotional distress damages in employment
   7   discrimination cases “may be substantial,” and the Ninth Circuit in Kroske
   8   reasoned that emotional distress damages “would add at least an additional
   9   $25,000” to the plaintiff’s claim. Kroske, 432 F.3d at 980 (affirming determination
 10    that, in light of the plaintiff's alleged lost wages of at least $55,000, emotional
 11    distress damages could be valued at $25,000). Because she allegedly suffers from
 12    emotional distress, and will continue to suffer the alleged emotional distress, it is
 13    more likely than not that Plaintiff will seek a substantial sum exceeding $75,000
 14    for her alleged non-economic damages.
 15           33.    Plaintiff also seeks to recover an unspecified amount in attorney’s
 16    fees. See Complaint, Prayer, ¶ 5. Attorneys’ fees (future and accrued) are
 17    considered in determining whether the amount in controversy requirement has been
 18    satisfied if a plaintiff sues under a statute that authorizes an award of fees to the
 19    prevailing party. See Galt GIS v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th
 20    Cir. 1998); Fritsch v. Swift Transportation Co. of Arizona, LLC, 899 F.3d 785, 794
 21    (9th Cir. 2018); see also Miera v. Dairyland Ins. Co., 143 F.3d 1337, 1340 (10th
 22    Cir. 1998); Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723 (5th
 23    Cir. 2002). The FEHA provides for attorneys’ fees to be awarded to successful
 24    plaintiffs. See Cal. Gov. Code § 12965(b). It is more than likely that Plaintiff’s
 25    claimed attorney’s fees, including future attorney’s fees, will exceed $75,000,
 26    especially if this matter goes to trial.
 27           34.    Plaintiff further seeks punitive damages against Defendants. See
 28    Complaint, ¶ 11, and Prayer, ¶ 2. Specifically, Plaintiff claims that Defendants
                                                10
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   1   acted maliciously with the intent to cause her injury and/or with reckless disregard
   2   by terminating her based on her physical disability, Plaintiff’s need and requests
   3   for accommodations, and good faith complaints; Defendants’ conduct was willful
   4   and done with the conscious disregard of her rights, health, and safety; Defendants’
   5   actions were oppressive, “despicable,” and subjected Plaintiff to cruel and unjust
   6   hardship; and Defendants’ actions were fraudulent because they asserted false
   7   pretextual grounds for her termination. Id. When one assumes, as is required,
   8   Plaintiff will prevail on her claims for relief, and the jury will award her punitive
   9   damages, it is difficult to imagine that the punitive damages verdict alone would be
 10    less than $75,000.
 11          35.    Based on the nature of the allegations and damages sought in the
 12    Complaint, Plaintiff has placed in controversy an amount exceeding the
 13    jurisdictional amount of $75,000.00, exclusive of costs and interest. Accordingly,
 14    pursuant to 28 U.S.C. §§ 1332 and 1441(a), this action may be removed to the
 15    United States District Court for the Central District of California because, at the
 16    time this action was filed and at the present time, diversity jurisdiction exists.
 17    VII. CONSENT TO REMOVAL
 18          All defendants are required to consent or join in removal for purposes of
 19    traditional diversity jurisdiction. 28 U.S.C. § 1446(b)(2)(A). Pursuant to this Notice
 20    of Removal, Defendants hereby consent to Removal.
 21    VIII. NOTICE PROVIDED TO STATE COURT AND PLAINTIFF
 22          36.    In accordance with 28 U.S.C. § 1446(d), Defendants will, promptly
 23    after the filing this Notice with the above-entitled Court, give written notice thereof
 24    to all adverse parties (i.e., Plaintiff), and will file a copy of this Notice with the
 25    Clerk of Court of the Superior Court of the State of California, County of Los
 26    Angeles. See Tate Decl., ¶ 7.
 27          37.    Proof of service of the Notice to the Superior Court Clerk of Removal
 28    to Federal Court and of the Notice to Adverse Party of Removal to Federal Court
                                               11
         DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
                           PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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   1   will be filed with this Court shortly after the Superior Court filing and service upon
   2   the adverse party are accomplished. See Tate Decl., ¶ 7.
   3         38.    Defendants respectfully request that the above-mentioned litigation,
   4   now pending before the Superior Court of California, County of Los Angeles, be
   5   removed to this Court based on diversity jurisdiction.
   6
   7   Dated: March 26, 2021                   Respectfully submitted,
   8                                           FISHER & PHILLIPS LLP
   9
 10                                     By:    /s/ Drew M. Tate
                                               Mark J. Jacobs
 11                                            Drew M. Tate
 12
                                               Attorneys for Defendants
 13                                            VANTAGE TRAVEL SERVICE, INC.
                                               and INSPERITY PEO SERVICES, L.P.
 14                                            (Erroneously Sued as INSPERITY, INC.)
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         DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO FEDERAL COURT
                           PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
